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i]

Debtor 1 KELVIN ALVIN LASHLEY

Debtor 2

(Spouse, if filing}

United States Bankruptcy Court for the: EASTERN District ot __PA
(State)

Casenumber _24-10595-AMC

Official Form 41082
Notice of Postpetition Mortgage Fees, Expenses, and Charges 12/6

If the debtor’s plan provides for payment of postpetition contractual Installments on your claim secured by a security interest In the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges Incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal! residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1,

Federal Home Loan Mortgage Corporation, as trustee for
Freddie Mac Seasoned Credit Risk Transfer Trust

Name of creditor: Series 2017-2, as owner of the Related Mortgage Lean Court claim no. (if known): g

Last 4 digits of any number you use to 7 4 66
identify the debtor's account:

Does this notice supplement a prior notice of postpetition fees,
expenses, and charges?

kd No
LJ Yes. Date of the last notice: f i

Co itemize Postpetition Fees, Expenses, and Charges

' Itemize the fees, expenses, and charges Incurred on the debtor's mortgage account after the petition was filed. Do not include any
escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
approved an amount, indicate that approval in parentheses after the date the amount was incurred.

Description Dates incurred Amount

1. Late charges (1) $

2. Non-sufficient funds (NSF) fees — 2 $

3. Attomey fees 04/09/2024 Objection to Confirmation of Plan (3, g 550.00
4. Filing fees and court costs (4) $

5. Bankruptcy/Proof of claim fees O04 5/2024 (6) $475.00
6. Appraisal/Broker's price opinion feas (6) $

7. Praperty inspection fees (7) $

8. Tax advances (non-escrow) _ —* a) §

9. Insurance advances (non-escrow} 9}
10, Property preservation expenses. Specify: qo) S$
11. Other. Specify:_Plan Review osilstet2s (11) $_475.00
12, Other. Specify: (12) $

13, Other. Specify: _ (38)

14. Other. Specify: (14) $

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.

Official Form 41082 Notice of Postpetition Mortgage Fees, Expenses, and Charges page 1
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Debtor 1 KELVIN ALVIN LASHLEY Case number grin 24-10595-AMC

First Name Middle Name Lasl Name

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.

Check the appropriate box.
CI | am the creditor.

W | am the creditor's authorized agent.

| declare under penalty of perjury that the Information provided in this claim is true and correct to the best
of my knowledge, information, and reasonable belief.

= /s/ Emmanuel J. Argentieri Date _06, 20 , 2024

Signature

Emmanuel J. Argentieri Attorney-at-law

Print: Title
First Name Middla Name Last Name
Company Romano Garubo & Argentieri
Address 52 Newton Ave., P.O. Box 456
Number Straet
Woodbury, NJ 08096
Clty State ZIP Goda
Contact phone (856 _) 364 _ 1515 Email! Gatgentieri@rgalegal.com

Official Form 41082 Notice of Postpetition Mortgage Fees, Expenses, and Charges page 2
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Document

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ROMANO GARUBO & ARGENTIERI

§2 Newton Ave
PO Box 456
Woodbury, NJ 08096

Ph: (856) 384-1515

To:

Lake Vista 4
800 State Highway 121 Bypass
Lewisville, TX 75067

Fax: (856) 384-6371

Filed 06/20/24 Entered 06/20/24 11:13:41 Desc Main

Filing State: PA

Invoice Type: 13

Referral Type: BK

Referral Date: POC: 02/29/2024
OBJ: 04/03/2024

Chapter: 13

Date Bk Filed: 02/23/2024
New BK Filing? No

Case No. 24-10595
Previous case no, N/A
Disposition N/A

Nationstar Mortgage LLP doing business as Mr. Cooper nvoice
Invoice Date: 4/16/2024
Invoice No: 57031
Due Date: Due Upon Receipt
Memo: MCPA-236 Mr. Cooper, - Kelvin Lashley; Loan# » BK; Our File#

Matter: MCPA-236

552-MCPA-236

Professional Fees

04/09/2024 Object to plan

Disburs

04/09/2024 Photocopies- 6 Copies @ $0.30

Payments Since Last Invoice

elie Siesctes ¢] estes)

Tax ID:

UT OG

mdusibes, SY O44

EJA

Invoice Amount:

Other Outstanding Balances:
All Invoices Amount:

Amount Applied:
Balance Due:

$550.00

$550.00

$1.92
$1.80
$3.72

$553.72

$958.58
$1,512.30

$0.00
$1,512.30

Case 24-10595-amc Doc’ Filed 06/20/24 Entered 06/20/24 11:13:41 Desc Main

Document Page 4of6 Filing State: PA
Invoice Type: 13
Referral Type: BK

ROMANO GARUBO & ARGENTIER] |os:: 04/03/2024

Referral Date: POC: 02/29/2024

Chapter: 13
Oona’ Date Bk Filed: 02/23/2024
Ox New BK Filing? No
Woodbury, NJ 08096 Case No. 24-10595
Ph: (856) 384-1515 Fax: (856) 384-6371 [Previous case no. N/A
Disposition N/A
To: i
Nationstar Mortgage LLP doing business as Mr. Cooper Invoice
Lake Vista 4
800 State Highway 121 Bypass
Lewisville, TX 75067
Invoice Date: 4/16/2024
Invoice No: 57032

Due Date: Due Upon Receipt

Matter. MCPA-236 Memo: MCPA-236 Mr. Cooper, - Kelvin Lashley; Loan# ! 3K; Our File#
552-MCPA-236

Professional Fees

9 6 OT EY

04/15/2024 Prepare POC & Plan review EJA $950.00
$950.00

Disbursements
04/15/2024 Postage $5.88 -
04/15/2024 Photocopies-9 Copies @ $0.30 $2.70
$8.58
Invoice Amount: $958.58
Other Outstanding Balances: $553.72
All Invoices Amount: $1,512.30
Amount Applied: __ $0.00
Balance Due: $1,512.30

Payments Since Last Invoice
on

Tax ID:
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UNITED STATES BANKRUPTCY COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In Re: :
KELVIN ALVIN LASHLEY
XXX-XX-1476

Debtor. :<CHAPTER 13
:CASE NO, 24-10595-AMC

CERTIFICATION OF SERVICE

1. I, Kristina 8. Johnston:

C) represent the in the above-captioned matter.

MI am the secretary/paralegal for Romano Garubo & Argentieri, who represents the
secured creditor, Federal Home Loan Mortgage Corporation, as trustee for Freddie Mac
Seasoned Credit Risk Transfer Trust, Series 2017-2, as owner of the Related Mortgage
Loan in the above-captioned matter.

Oamthe in the above case and am representing myself.

2. On June 20, 2024, I sent a copy of the following pleadings and/or documents to the
parties listed in the chart below,
Notice of Postpetition Fees, Expenses and Charges

3, I hereby certify under penalty of perjury that the above documents were sent using the

mode of service indicated.

Dated: June 20, 2024 /s/ KRISTINA 8. JOHNSTON
KRISTINA 8S. JOHNSTON

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Name and Address of Party Relationship of Party | Mode of Service
Served to the Case
L] Hand-delivered
Kelvin Alvin Lashley Debtor M7 Regular Mail
4 Donneybrook Lane L] E-mail
Collegeville, PA 19426-4408 C1 Notice of Electronic Filing (NEF)
1 Other
(as authorized by the court*)
Michael A. Cibik LC) Hand-delivered
Cibik Law, P.C. Debtor’s Attorney M Regular Mail
CO E-mail

1500 Walnut Street, Suite 900
Philadelphia, PA 19102

M Notice of Electronic Filing (NEF)
CL) Other
(as authorized by the court*)

Kenneth E. West

Office of the Chapter 13 Standing
Trustee

1234 Market Street, Suite 1813
Philadelphia, PA 19107

Chapter 13 Trustee

C1 Hand-delivered
M Regular Mail
CD Certified Mail/RR
C2) E-mail
M Notice of Electronic Filing (NEF)
LC Other
(as authorized by the court*)

United States Trustee

Office of the U.S. Trustee

Robert N.C. Nix Federal Building
900 Market Street

Suite 320

Philadelphia, PA 19107

U.S Trustee

[] Hand-delivered
CI Certified Mail/RR
OD E-mail
M1 Notice of Electronic Filing (NEF)
O) Other
(as authorized by the court*)

ROMANO GARUBO & ARGENTIERI
Emmanuel J. Argentieri, Esquire/59264

§2 Newton Avenue, P.O. Box 456

Woodbury, New Jersey 08096
(856) 384-1515

eargentieri@rgalegal.com

